                  Case:
ILND 450 (Rev. 10/13)     1:09-cv-05585
                      Judgment in a Civil Action   Document #: 269 Filed: 01/20/16 Page 1 of 1 PageID #:2200

                                           IN THE UNITED STATES DISTRICT COURT
                                                         FOR THE
                                              NORTHERN DISTRICT OF ILLINOIS
                                                                     )
    Tara Smith                                                       )
                       Plaintiff(s)                                  )        Case No. 09 C 5585
       v.                                                            )
    Greystone Alliance LLC                                           )
                       Defendant(s)
                                                   JUDGMENT IN A CIVIL CASE
   Judgment is hereby entered (check appropriate box):

                       in favor of plaintiff(s)
                       and against defendant(s)
                       LQWKHamount of                                 

                                 which       includes        pre–judgment interest.
                                             does not include pre–judgment interest.

        Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

        Plaintiff(s) shall recover costs from defendant(s).


                        in favor of defendant(s)
                        and against plaintiff(s)

        Defendant(s) shall recover costs from plaintiff(s).

                 ✔       other: final judgment is entered dismissing this action with prejudice.




   This action was (check one):

        tried by a jury with Judge                                       presiding, and the jury has rendered averdict.
        tried by Judge                                     ZLWKRXWa jury and the above decision was reached. 
        decided by Judge                                   BNPUJPO



   Date: 1/20/16                                                                 Thomas G. Bruton, &OHUNRI&RXUW
                                                                                 V_____BBBB________________'HSXW\&OHUN
                                                                                    Sandy Newland
